     Case 4:13-cr-00121-LGW-CLR Document 277 Filed 03/18/14 Page 1 of 1




                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA

                            SAVANNAH DIVISION                                   (1)
                                                                              U).
                                                                  rj3 -
                                                                                 Ci




UNITED STATES OF AMERICA            )



                                    )



V.                                  )
                                           Case No. CR413-121
                                    )



WENDELL BRANTLEY                    )



                                    )




                                ORDER
       After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judges Report and Recommendation, to which

objections have been filed. Accordingly, the Report and iReconimendation of

the Magistrate Judge is adopted as the opinion of the Court.

       SO ORDERED this            day of                1 2014.




                                   ]. AVArEDENFIELD        /
                                   UNITED STATES DISTRICT 4UDGE
                                   SOUTHERN DISTRICT OF tiEORGIA
